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From: Brett Jensen

To: Ryan Shaffer

Ca: Jon Wilson; Michael Sarabia
Subject: RE: Rule 35 exams

Date: Monday, August 14, 2023 2:34:37 PM
Hi Ryan:

it was a nice trip. | hope you had a good trip as well. Here is the response | received from Dr. Biitz.
i'm just going to send you the whole response so we’re not playing a bad game of telephone:

“Yes, there’s an issue with this, and I'll break it down sentence by sentence.

1. Dr. Butz’s report shall include a data sheet that identifies the tests given — Se, two problems,
first a “data sheet” is not something that identifies the tests given. That’s listed under
instruments or tests administered in most reports, and 1 don’t have a problem listing what
has been administered. Second, a “data sheet” lists “data”, so this needs to be clear. The
pertinent heading my reports is: instruments Administered.

2. with a corresponding score and T score/percentile rank for each such test ~— Several problems
here that confound the request for test raw data. First, this is entirely too burdensome for
a number of instruments that may be administered, at the low end there are tests with a
few such scores while others have as many as 100. Second, by raising this matter and
wanting to get into this dialogue, inherently, they are asking what instruments will be
administered. Third, given how the sentence is written, with rare exception is there one T-
Score or Percentile Range for each instrument. And, whomever is advising them knows
that.

Thus, this sentence has five problems with it, and i would suggest great caution in
discussing the problems — since its sorta a fishing expedition, Also, be aware that Dr. Bone
will certainly know some of these scores, since as required they will be in the report. But,
the whole point of providing test raw data is for hirn to run his own independent analysis
scientifically and check my interpretation. its just this kind of stuff we wrote the article to
address.

3. Furthermore, Defendants and Dr. Butz acknowledge and agree that to the extent Dr. Butz
relies on the raw testing data for his opinions in this case... $0, this is not only a run-on
sentence, but it is a trap as well, First, i will of course rely on the test raw data for my
opinion, but then we move on to the next part of the sentence.

4, while such data is only being provided to Plaintiffs’ retained expert Dr. Bone — This sentence,
on its face, looks good, but this is not what the sentence goes on to say.

5. Plaintiffs’ counsel and retained expert Dr. Trent Holmberg shall be permitted to discuss and
EXHIBIT

reference the raw testing data — DEFINITELY NOT OKAY.

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6. provided to Dr. Bone for the purpose of this litigation... Se, the whole of the sentence in 3, 4,
5, and 6, says one thing (4), then entirely another thing (5), and then attempts to distract
and placate with its end (6).

So, this is just not okay, nor reasonable, as they are parsing words, sentence structure, and
semantics to get at what instruments will be administered and to have counsel and Dr. Holmberg to
have access to the test raw data. | can write something that is reasonable if you wish, but given this |
am leaning toward the notion that they would not be fond of it.”

This is my proposed language for Paragraph No. 8 that | think Dr. Butz is tentatively agreeable with:

in the authorizations completed by the Plaintiffs’ parties individually, the Authorization for
Forensic Psychological Assessment: Informed Consent & Fee Agreement, attached as
Exhibits XXX-XXX, specifically describes Dr. Butz’s long-held policy on the handling and
management of test raw data and copywritten materials from test vendors. As part of this
agreement, Dr. Butz has specifically agreed that his test raw data will only be transmitted to
Plaintiffs’ expert Dr. Jonathan D. Bone. Further, at no point will Dr. BUtz be requested to
release copywritten forms for psychological instruments/tests as this would violate his user
agreements with various instrument/test vendors.

So from what | can tell, we cannot agree as to the following:

1. Who bears the travel burden for Ms. Mapley’s examination. As previously discussed, remote
forensic evaluations are a non-starter for WTNY and Dr. Butz, but you are certainly free to
request that remedy from the Court;

2. The handling procedure for Dr. BUtz’s raw test data; and

3. The procedure for inadvertent disclosure of attorney client communications. | provided you
with my proposed language last week, and it seemed like you were not agreeable to it based
on our brief chat.

If we have reached an impasse as to these issues, perhaps we can execute the MOA with our agreed
upon terms, we can promptly file a motion for order directing Rule 35 exams, and we can request a
conference with the judge to try and get a quick ruling and keep things on track. Let me know.

Sincerely,

Brett C. Jensen
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From: Ryan Shaffer <ryan@mss-lawfirm.com>
Sent: Monday, August 14, 2023 2:21 PM

To: Brett Jensen <Blensen@brownfirm.com>
Subject: Rule 35 exams

Brett,
Hope you enjoyed the rest of your CA trip.
Any word on Dr. Butz’s position to our proposed language on the raw test data?

Let me know if you want to talk about identifying the specific issues we disagree on and trying to get
a quick ruling from the Court...

Ryan R. Shaffer

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